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                           UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                         CASE NO. 14CR12II-WQH

                              intiff,
                vs.                               JUDGMENT OF DISMISSAL
EMILY CECILIA BLAKSLEE,

                          Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

__X
  __ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Indictment/Information:

     8: 1324 (a) (1) (A) (ii) , (v) (I I) - Transportation of Illegal Aliens and

     Aiding and Abetting

          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.



                                                        ~?
                                                  William V. Gallo
                                                  U.S. Magistrate Judge
                      MAY 19 2015
             Cl.ERK, u.s. D'STR'CT COURT
           SOUTHERN DISTRICT OF CALIFORNIA
           8V                        DEPUTY
